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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO


    FRANCISCO MENDOZA and
    JUANA VALENCIANO,

                   Plaintiffs,
          vs.                                                        Case No. 1:18-CV-0362-SWS-MLC
    DAIRYLAND INSURANCE
    COMPANY,

                   Defendant.

             ORDER GRANTING MOTION FOR SUMMARY JUDGMENT


         This matter comes before the Court on Defendant’s Motion for Summary Judgment

(ECF No. 22). The Court, having considered the briefs and materials submitted in support

of the motion and Plaintiffs’ response thereto, and being otherwise fully advised, FINDS

and ORDERS as follows:

                                                  BACKGROUND

         This case arises out of injuries Plaintiffs allegedly suffered from an assault that

occurred in the parking lot of the Fire Rock Casino in Church Rock, New Mexico. Just

before 9:00 p.m. on March 12, 2012, Plaintiffs drove their PT Cruiser to the casino and

parked in the fourth row of the casino’s parking lot. Plaintiff Francisco Mendoza got out

of the automobile, while his wife, Plaintiff Juana Valenciano, remained inside looking for

her casino card in the glove compartment. (Def.’s Ex. B, Denise Begaye Aff. ¶ 3;1 Def.’s

1Plaintiffs object to consideration of ¶ 3 of Investigator Denise Begaye’s Affidavit, arguing the assertions made therein
are unreliable and inadmissible hearsay. Plaintiffs’ objection is overruled. The Court can reasonably conclude the
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Ex. A, Valenciano Dep. 27:5-24.) While Mr. Mendoza was standing outside the PT Cruiser

waiting for his wife, he noticed a dark-colored vehicle (“the vehicle”) stop in the driving

lane behind them, while the front seat passenger got out. (Valenciano Dep. 28:9-24; Def.’s

Ex. D, Denise Billy Dep. 10:8-23; Mendoza EUO 20:20-24, 22:7-9, ECF No. 28-1.) The

vehicle momentarily stopped between parking rows three and four while the passenger

exited the vehicle. (Billy Dep. 17:8-10; Def.’s Ex. F, Fire Rock Casino Surveillance Video

at PTZ Park East Row 1 South (2) 20:45:38-42.) The vehicle’s passenger then walked

toward the back of the vehicle as it drove away. Id. at 20:45:41-46. After dropping off the

passenger, the vehicle’s driver then drove to a different lane within the parking lot between

rows two and three and waited there. (Billy Dep. 12:8-19, 17:10-11; Surveillance Video

at PTZ Park East Row 5 North (2) 20:45:49-20:46:00.)

        After exiting the dark-colored vehicle, the passenger approached Mr. Mendoza on

foot and demanded money from Mr. Mendoza while threatening to shoot him. (Begaye

Aff. ¶ 3; Billy Dep. 10:24-11:1; Mendoza EUO 22:20-22, 23:13-17, 24:9-11.) When Mr.

Mendoza did not comply with the demand, the passenger-turned-assailant then shot Mr.

Mendoza in the face below his left eye with a BB gun. (Begaye Aff. ¶ 3; Billy Dep. 11:1-

6.) After being shot, Mr. Mendoza got back into the driver’s seat of the PT Cruiser to

shield his wife from the attack. (Begaye Aff. ¶ 4; Billy Dep. 11:11-15.) After hearing

several more “pops” and the driver’s side window shatter, Mr. Mendoza saw the assailant



source of the information relayed in ¶ 3 was Mr. Mendoza, and such statements are not hearsay as an opposing party’s
statements. See FED. R. EVID. 801(d)(2). That the source is Mr. Mendoza is corroborated by the statements attributed
to Mr. Mendoza during the investigator’s deposition, wherein she discusses her questioning of Mr. Mendoza inside
the casino on the night of the assault. (See Def.’s Ex. D, Billy Dep. 9:14-12:2.) Additionally, the Affidavit is
admissible as a public record. See FED. R. EVID. 803(8)(A)(iii) & (B); Perrin v. Anderson, 784 F.2d 1040, 1046-47
(10th Cir. 1986); Weinstein v. Siemens, No. 2:07-CV-15000, 2010 WL 4825016, at *2-4 (E.D. Mich. Nov. 22, 2010.)

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run through the parking lot and re-enter the dark-colored vehicle which was waiting on the

other side of the parked vehicles. (Begaye Aff. ¶ 4; Billy Dep. 11:16-12:2.) The dark-

colored vehicle then fled the scene as Mr. Mendoza and his wife ran to the entrance of the

casino. (Begaye Aff. ¶ 4; Surveillance Video at PTZ Park East Row 1 South (2) 20:46:14-

40, Driveway (2) 20:46-18-22.) The Plaintiffs reported the incident to casino security and

Plaintiff Mendoza was questioned by Investigator Denise Begaye shortly thereafter.

(Begaye Aff. ¶¶ 2, 4; Billy Dep. 9:14-21.) A subsequent investigation revealed the identity

of the assailant and driver of the dark-colored vehicle (Begaye Aff. ¶¶ 5-20), and the

assailant was ultimately convicted of assault with a dangerous weapon (Def.’s Ex. C).

       At the time of the shooting, Plaintiffs were insured under Dairyland automobile

policies providing uninsured motorist (“UM”) coverage. Following the shooting, Plaintiffs

presented claims to Defendant Dairyland claiming their injuries were the result of an

assault by an uninsured motorist. Following denial of their claims, Plaintiffs filed this

action on March 9, 2018. (See ECF No. 1-1.) Plaintiffs’ complaint asserts the following

claims for relief: declaratory judgment for UM benefits pursuant to Rule 1-057 NMRA

and NMSA § 44-6-1 (1978) et seq.; breach of contract for UM benefits; bad faith breach

of insurance contract for denial of UM benefits; violation of New Mexico Insurance

Practices Act; and violation of New Mexico Unfair Practices Act. Plaintiffs seek, inter

alia, a judgment declaring that the March 12, 2012 shooting was a covered event under the

Dairyland policy(ies) and that Defendant is therefore obligated under the policy(ies) to pay

UM benefits to Plaintiffs. By way of its summary judgment motion, Defendant seeks a

declaration that Plaintiffs’ injuries resulting from the assault are not covered by the

Dairyland policy because they did not arise out of the use of an uninsured motor vehicle.
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                                          STANDARD OF REVIEW

         Summary judgment is appropriate where a movant shows “there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

Fed.R.Civ.P. 56(a) (2010) (emphasis added). “A dispute is genuine if there is sufficient

evidence so that a rational trier of fact could resolve the issue either way. A fact is material

if under the substantive law it is essential to the proper disposition of the claim.” Crowe v.

ADT Sec. Servs., Inc., 649 F.3d 1189, 1194 (10th Cir. 2011) (internal quotations and

citations omitted). In reviewing a motion for summary judgment, the Court is to determine

whether there is evidence to support a party’s factual claim, Jarvis v. Potter, 500 F.3d 1113,

1120 (10th Cir. 2007), and, in doing so, must view the evidence and draw reasonable

inferences therefrom in a light most favorable to the nonmoving party, E.E.O.C. v. C.R.

England, Inc., 644 F.3d 1028, 1037 (10th Cir. 2011). “When opposing parties tell two

different stories, one of which is blatantly contradicted by the record, so that no reasonable

jury could believe it, a court should not adopt that version of the facts for purposes of ruling

on a motion for summary judgment.” Scott v. Harris, 550 U.S. 372, 380 (2007).2

                                                  DISCUSSION

         “[I]n a federal diversity action, the district court applies state substantive law—those

rights and remedies that bear upon the outcome of the suit—and federal procedural law—

the processes or modes for enforcing those substantive rights and remedies.” Los Lobos



2 “[A] surveillance video can be dispositive of factual disputes regarding how [an] incident occurred.” Safford v.
Wal-Mart Stores, Inc., No. 1:16-cv-216 WJ-KK, 2017 WL 2306410, at *4 (D.N.M. Feb. 16, 2017). See, e.g., Scott,
550 U.S. at 380 (where videotape “utterly discredited” respondent’s version of events, appellate court erred in
finding there was a genuine issue of fact preventing summary judgment); Lewis v. Sandoval, 428 F. App’x 808, 811
(10th Cir. 2011) (where police recording “unequivocally” established a pursuit took place, appellant’s claim that no
pursuit occurred did not create an issue of fact preventing summary judgment).

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Renewable Power, LLC v. Americulture, Inc, 885 F.3d 659, 668 (10th Cir. 2018). Pursuant

to New Mexico’s uninsured motorist statute, an insurer must indemnify an insured for

damages that “arise out of the use of an uninsured motor vehicle.” Britt v. Phoenix Indem.

Ins. Co., 907 P.2d 994, 997 (N.M. 1995) (citing N.M. STAT. ANN. § 66-5-301). In

determining whether intentional conduct and its resulting harm arises out of the use of an

uninsured motor vehicle, and thus potentially compensable under an uninsured motorist

policy, the New Mexico Supreme Court applies a three-part test: (1) whether there is a

sufficient causal nexus between the use of the uninsured vehicle and the resulting harm;

(2) whether an act of independent significance broke the causal link between the use of the

vehicle and the harm suffered; and (3) whether the “use” to which the vehicle was put was

a normal use of that vehicle. Britt, 907 P.2d at 999-1000; see also State Farm Mut. Auto.

Ins. Co. v. Blystra, 86 F.3d 1007, 1011 (10th Cir. 1996). Defendant argues Plaintiffs’

claims fail under the first two prongs of the Britt test.

       The causal nexus prong of the three-part test requires that the vehicle be an “active

accessory” in causing the injury. Britt, 907 P.2d at 999. In Blystra, the Tenth Circuit Court

of Appeals recognized that when an automobile is used to undertake a drive-by shooting

(i.e., shot fired from within the moving vehicle), the automobile is almost by definition an

“active accessory” to the assault. 86 F.3d at 1012. That is because, through the use of an

automobile, a drive-by shooter achieves several advantages otherwise unavailable to him

in the commission of the crime, such as using the vehicle to unsuspiciously and quickly

approach his victim while concealing that he is armed with a gun, to help hide his identity,

and to leave the scene quickly and avoid apprehension. Id. Conversely, where the assailant

commits the tort after stopping and exiting the vehicle, “the vehicle serves merely to
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transport the assailant to the scene of the crime and therefore is not an active accessory to

the resulting injuries.” Id. at 1013.

       The United States Court for the District of New Mexico has also addressed the

causal nexus requirement, recognizing that the uninsured vehicle must have been an active

accessory in causing the harm. Hartford Ins. Co. of the Midwest v. Tollardo, 409 F. Supp.

2d 1301, 1308-09 (D.N.M. 2005). In Tollardo, the assailant used his uninsured vehicle to

search for the victim, with the intent of beating him. Id. at 1303-04. After unsuccessfully

searching for a couple hours, the assailant gave up and decided to return home. Id. at 1303.

On his way, the assailant, by chance, spotted the victim’s vehicle parked at a gas station

and stopped quickly, crashing his vehicle into a pole. Id. at 1303-04. The assailant exited

his vehicle and ran toward the victim’s vehicle with a gun in each hand. Id. at 1304. As

the assailant got closer to the victim’s vehicle, he began to walk and opened fire on the

vehicle, killing three of the occupants. Id. The assailant ran back to his vehicle and left

the scene. Id. The court concluded there was not a causal nexus between the assailant’s

use of his vehicle and the shooting deaths of the three victims because his vehicle was not

an active accessory to the crimes. Id. at 1308. In doing so, the court noted that Minnesota

law (upon which the Britt court relied in adopting the three-part test) has “ruled out the

mere use of a vehicle for transportation to the scene of a crime as satisfying the active

accessory requirement.” Id. at 1310. “[T]he Court sees no reason why transportation away

from, but not to, the scene of a crime should render the vehicle an active accessory.” Id.

       Still, in Blystra, the Tenth Circuit acknowledged that the Britt court recognized the

possibility that, given the right facts, the causal chain might not be broken even though the

assailant commits the assault after exiting the stopped vehicle. 86 F.3d at 1014. The New
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Mexico Court of Appeals found such facts to exist in Barncastle v. Am. Nat’l Prop. & Cas.

Co., 129 N.M. 672 (N.M. Ct. App. 2000). In Barncastle, the court addressed circumstances

in which the use of the vehicle was “somewhat attenuated” from the assault. Id. At about

10:00 p.m., Barncastle was in his vehicle stopped at an intersection in Albuquerque, New

Mexico, when an unidentified vehicle pulled up next to Barncastle’s car and a passenger

got out, walked over to Barncastle’s window, and shot him with a handgun. Id. at 673.

The assailant immediately thereafter returned to the unidentified vehicle, which then left

the scene at a high rate of speed with its headlights off. Id.

       Applying the Britt test, the New Mexico Court of Appeals determined the assailant’s

vehicle was an “active accessory” in the attack. Id. at 674. The court explained: “The

driver of that vehicle used it to get into a position where [a]ssailant could get out and shoot

Barncastle. . . . The vehicle was further used to escape the scene at a high rate of speed,

with its headlights off.” Id. The court further found: “No act of independent significance

broke the causal chain. . . . Assailant left the passenger seat, shot Barncastle, and returned

to the vehicle [which] left the scene before it or its occupants could be identified or

apprehended.” Id.

       Relying on Barncastle, Plaintiffs argue the uninsured vehicle used in this case was

an active accessory in the attack on Plaintiffs and, therefore, the assailant’s use of the

vehicle to harm Plaintiffs is covered under Plaintiffs’ automobile insurance policy. The

Court disagrees. This case’s facts are distinguishable from those in Blystra and Barncastle

and more akin to the facts in Tollardo. Here the assailant did not achieve the advantages

of either a drive-by shooting or an attack at an intersection where traffic is momentarily

stopped – i.e., use of the vehicle to covertly and quickly approach the victim or get into a
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position where the assailant could shoot the victim, to conceal the identity of the shooter,

as well as the presence of the gun, and to escape the scene at a high rate of speed and avoid

apprehension. See Blystra, 86 F.3d at 1012; Barncastle, 129 N.M. at 674.

       First, the driver did not maneuver the vehicle to quickly appear alongside Mr.

Mendoza without warning. As shown on the video the Plaintiffs’ assailant exited the

vehicle and approached Mr. Mendoza on foot, without using the vehicle in any way to

conceal his identity or the presence of a weapon. (Surveillance Video at PTZ Park East

Row 1 South (2) 20:45:38-46). Neither did the assailant use the vehicle to block Plaintiffs

from leaving the scene. The assailant then fled the scene on foot before re-entering the

vehicle in another area of the parking lot. Although the assailant ultimately used the vehicle

to leave the scene more quickly than he could have had he remained on foot, the vehicle

had lingered in the casino parking lot for several minutes prior to the assault (see

Surveillance Video at PTZ Self Park Row 1 North and Row 3 North), something the

assailant could have accomplished, likely more inconspicuously, without the use of the

vehicle. Indeed, because the perpetrators of this crime were ultimately identified through

the vehicle’s distinctive markings (see Begaye Aff. ¶¶ 6, 9-10), the vehicle served no

purpose in helping the assailant avoid apprehension. Use of the vehicle in this case did not

facilitate the assault; rather, the vehicle merely facilitated transportation to and from the

scene of the crime. Thus, the Court finds the undisputed facts show that the uninsured

vehicle was not an active accessory in causing the harm to Plaintiffs. Because Plaintiffs

cannot show a causal nexus between use of the uninsured vehicle and the resulting harm,

the Court need not address the other two parts of the Britt test. See Britt, 907 P.2d at 1000.


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                                        CONCLUSION

       The undisputed material facts establish that Plaintiffs’ alleged injuries did not arise

out of the use of an uninsured automobile. Accordingly, the Court finds Plaintiffs are not

entitled to recover uninsured motorist benefits under the subject Dairyland insurance policy

for the injuries they allegedly suffered during the assault in the parking lot of the Fire Rock

Casino. THEREFORE, IT IS HEREBY

       ORDERED that Defendant’s Motion for Summary Judgment (ECF No. 22) is

GRANTED and Defendant is entitled to judgment as a matter of law.


       Dated this 13th      day of December, 2018.




                                    Scott W. Skavdahl
                                    United States District Judge




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